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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,               No. 2:20-cr-219 WBS
13                Plaintiff,
14       v.
15   ASHLEY MARIE AURICH,                    ORDER RELATING CASES
16                Defendant.
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21   UNITED STATES OF AMERICA,               No. 2:20-cr-221 WBS
22                Plaintiff,
23       v.
24   ARTURO PACHECO,
25                Defendant.
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      Case 2:20-cr-00219-WBS Document 49 Filed 01/05/23 Page 2 of 3


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3    UNITED STATES OF AMERICA,               No. 2:22-cr-245 DAD
4                  Plaintiff,
5        v.
6    BRENDA VILLA,
7                  Defendant.
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13               The court previously related United States v. Aurich,

14   2:20-cr-219 WBS, and United States v. Pacheco, No. 2:20-cv-221

15   WBS under Local Rule 123(a).     Examination of those cases and

16   United States v. Villa, No. 2:22-cr-245 DAD, reveals that they

17   are related within the meaning of Local Rule 123(a), because all

18   three cases involve the alleged assault of a certain California

19   Department of Corrections and Rehabilitation inmate and the

20   alleged falsification of reports regarding the incident.

21   Accordingly, the assignment of the matters to the same judge is

22   likely to effect a substantial saving of judicial effort and is

23   also likely to be convenient for the parties.

24               The parties should be aware that relating the cases

25   under Local Rule 123 merely has the result that all actions are

26   assigned to the same judge; no consolidation of the actions is

27   effected.    Under the regular practice of this court, related

28   cases are generally assigned to the judge and magistrate judge to
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1    whom the first filed action was assigned.

2              IT IS THEREFORE ORDERED that the actions denominated

3    United States v. Aurich, 2:20-cr-219 WBS, United States v.

4    Pacheco, 2:20-cr-221 WBS, and United States v. Villa, No. 2:22-

5    cr-245 DAD be, and the same hereby are, deemed related.          The case

6    denominated United States v. Villa, No. 2:22-cr-245 DAD, shall be

7    reassigned to Judge William B. Shubb.       Any dates currently set in

8    the reassigned case only are hereby VACATED.        Henceforth, the

9    captions on documents filed in the reassigned case shall be shown

10   as United States v. Villa, No. 2:22-cr-245 WBS.

11             IT IS FURTHER ORDERED that the Clerk of the Court make

12   an appropriate adjustment in the assignment of cases to

13   compensate for this reassignment.

14   Dated:   January 5, 2023

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